         Case 4:19-cv-00823-BSM Document 29 Filed 11/03/21 Page 1 of 1




                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF ARKANSAS
                             CENTRAL DIVISION

MICHAEL SPARKS,                                                            PLAINTIFFS
individually and on behalf of
all others similarly situated

v.                          CASE NO. 4:19-CV-00823-BSM

LEDIC MANAGEMENT GROUP, LLC                                               DEFENDANT

                                       JUDGMENT

       Consistent with the order entered today, this case is dismissed with prejudice. The

parties will bear their own attorney’s fees and costs.

       IT IS SO ORDERED this 3rd day of November, 2021.




                                                    UNITED STATES DISTRICT JUDGE
